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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                       EASTERN DIVISION AT JACKSON
______________________________________________________________________________

WILLIAM GRIFFIN AND BILLIE             )
GRIFFIN,                               )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )        Case 1:21-cv-02818
                                       )
AMERICAN SELECT INSURANCE              )
COMPANY,                               )
                                       )
      Defendant.                       )
______________________________________________________________________________

          DEFENDANT AMERICAN SELECT INSURANCE COMPANY’S
                                EXHIBIT LIST
______________________________________________________________________________

            Comes now the Defendant American Select Insurance Company (“ASIC”), by and

  through counsel, and respectfully submits the following exhibit list as to the trial of this case.


                 ANTICIPATED EXHIBITS TO BE OFFERED AT TRIAL

       1.      American Select Insurance Company Policy No. WNP 033832

       2.      Estimate and photographs of Phillip Allen

       3.      Sketch of bathroom

       4.      Letter from American Select Insurance Company to Plaintiffs dated 02/04/20

       5.      Claim payment check

       6.      American Select Insurance Company position letter dated 03/17/21

       7.      Report and all attachments to report of Anthony Firriolo, PE, including structural
               damage report dated 02/16/21

       8.      Supplemental letter from Anthony Firriolo, PE dated 09/13/22



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       9.      Plaintiffs’ Responses to Interrogatories from Defendant

       10.     Plaintiffs’ Supplemental Responses to Interrogatories from Defendant

       11.     Deposition of William Griffin with exhibits

       12.     Deposition of Billie Griffin with exhibits



                                              Respectfully submitted,



                                              /s/ James R. Tomkins___________________
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                                              Attorney for Defendant




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing has been emailed and sent thru
the Court’s electronic filing system, on the 26th day of May, 2023, to:

Mr. Drayton Berkley
1255 Lynnfield Road
Suite 226
Memphis, TN 38119




                                              /s/ James R. Tomkins_____________________
                                              JAMES R. TOMKINS




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